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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA

                 v.                                   19-mj-01595-UA

JAMELIA PHILLIPS

                                         ORDER
                                  ~
       AND NOW, this          ?    day of _ 0_ 0 -h
                                                 _ u _b_-<_r _ _ _ _ _ _ , 2019,

upon consideration of the Motion filed by Defendant, Jamelia Phillips ("Phillips")

to Authorize Criminal Justice Act Funds for Legal Counsel with Expertise in

Immigration Law (the "Motion"), and it appearing to the Court that: (i) Phillips

requires the services of a qualified Immigration Lawyer; (ii) Defense counsel in

this action is willing and able to identify a qualified Immigration Lawyer on receipt

of this Order; and (iii) it is likely that compensation for a qualified Immigration

Lawyer will be required in an amount of $2,600.00, it is hereby ORDERED and

DECREED as follows:

           1.    The Motion is GRANTED;

           2.    Defense counsel in this action, Richard H. Maurer ("Attorney

Maurer"), is AUTHORIZED to retain a qualified Immigration Lawyer to provide

legal consultation for Phillips regarding the impact of a conviction in this case on

Phillip's immigration status; and




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      3.     The compensation under the Criminal Justice Act (the "CJA") for the

qualified Immigr~tion Lawyer referenced by this Order, who shall be identified by

Attorney Maurer within five days after receipt of this Order, is hereby

AUTHORIZED in an amount not to exceed $2,600.00, which is the current

statutory maximum amount for expert and ancillary services provided to

defendants pursuant to the CJA.

                                                                  BY THE COURT:




                                          2
